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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                          §   Chapter 11
                                                §
ALEXANDER E. JONES                              §   Case No. 22-33553
                                                §
         Debtor.                                §


                                   NOTICE OF HEARING

       PLEASE TAKE NOTICE that on December 21, 2022, Alexander E. Jones (“Debtor”) filed
his Application to Employ Crowe & Dunlevy, P.C. as Bankruptcy Co-Counsel [Docket No. 69];
on December 21, 2022, Debtor filed his Application to Employ Jordan & Ortiz, P.C. as Co-
Counsel [Docket No. 71] and his Emergency Motion for Order (1) Prohibiting Utility Companies
from Altering or Discontinuing Service on Account of Prepetition Invoices, (II) Approving Deposit
Account as Adequate Assurance of Payment, and (III) Establishing Procedures for Resolving
Requests by Utility Companies for Additional Assurance of Payment (the “Utility Motion”)
[Docket No. 70]; and on December 22, 2022, Debtor filed his Motion for Entry of An Order
Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Retained
Professionals [Docket No. 74] (collectively, the “Motions”)

        PLEASE TAKE FURTHER NOTICE that a hearing has been set on the Motions for
January 20, 2023, at 11:00 a.m. (prevailing Central Time) in the United States Bankruptcy Court
for the Southern District of Texas before the Honorable Christopher M. Lopez, Courtroom 401,
515 Rusk, Houston, TX 77002.

         PLEASE TAKE FURTHER NOTICE that you may participate in the hearing either in
person or audio and video connection. Audio communication will be by the use of the Court’s dial-
in facility. You may access the facility at (832) 917-1510. Once connected, you will be asked to
enter the conference room number. Judge Lopez’s conference room number is 590153. Video
communication will be by use of the GoToMeeting platform. Connect via the free GoToMeeting
application or click the link on Judge Lopez’s homepage. The meeting code is “JudgeLopez”.
Click the settings icon in the upper right corner and enter your name under the person information
setting.

       PLEASE TAKE FURTHER NOTICE parties are encouraged to review the Court’s
procedures for telephonic appearances located on the Court’s website at: COURT PROCEDURES
(uscourts.gov).

        PLEASE TAKE FURTHER NOTICE that hearing appearances must be made
electronically in advance of the hearing. To make your appearance, click the “Electronic
Appearance” link on Judge Lopez’s homepage. Select the case name. complete the required fields
and click “Submit” to complete your appearance.



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Dated: December 23, 2022        Respectfully submitted,


                                    CROWE & DUNLEVY, P.C.

                                    By: /s/ Christina W. Stephenson___
                                    Vickie L. Driver
                                    State Bar No. 24026886
                                    Christina W. Stephenson
                                    State Bar No. 24049535
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                                    -and-

                                    Shelby A. Jordan
                                    State Bar No. 11016700
                                    S.D. No. 2195
                                    Antonio Ortiz
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                                    Copy to: cmadden@jhwclaw.com

                                    PROPOSED COUNSEL               FOR     DEBTOR,
                                    ALEXANDER E. JONES




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the referenced Motions were each served by
the Court’s CM/ECF system on all parties registered to receive such service on the date of filing,
and the Utility Motion was additionally served by U.S.P.S. first class mail on all parties indicated
in the attached service list within 24 hours of the filing:

City of Austin                                       Amazon.com, Inc.:
4815 Mueller Blvd.                                   c/o Corporation Service Company
Austin, TX 78723-3573                                300 Deschutes Way SW,
                                                     Suite 208
Texas Gas Service                                    MC-CSC1
c/o CT Corporation System                            Tumwater, WA 98501
1999 Bryan St.,
STE. 900                                             High Gabriel Water Supply Corporation
Dallas, Texas 75201                                  d/b/a Texas Water
                                                     109 Arroyo Circle
Travis County MUD 3                                  Leander, TX 78641
c/o Crossroads Utility Services, LLC
12708 Belcara PL.                                    Spectrum
Austin, TX 78732                                     c/o Charter Communications, Inc.
                                                     Attn: Legal Response Operations Center
Texas Disposal Systems, Inc.                         12405 Powerscourt Drive
12200 Carl Rd.                                       Saint Louis, Missouri 63131-3660
Austin, TX 78747
                                                     Travis County WCID 17
Netflix, Inc.                                        3812 Eck Ln,
c/o CT Corporation System                            Austin, TX 78734t
1999 Bryan St.,
STE 900                                              Sirius XM Holdings, Inc.
Dallas, Texas, 75201                                 Attn: Legal Department
                                                     1221 Avenue of the Americas
Hulu, LLC                                            Floor 11
Attn: Legal Department,                              NEW YORK, NY 10020-1010
2500 Broadway, 2nd Floor,
Santa Monica, CA, 90404                              AT&T, Inc.
                                                     c/o CT Corporation System
HBOmax                                               1999 Bryan St.,
c/o Warner Media                                     STE. 900
Attn.: Legal Department                              Dallas, TX 75201
30 Hudson Yards
New York NY 10001.


                                                     /s/ Christina W. Stephenson
                                                     Christina W. Stephenson



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